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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

ERIC VON POOLE                                  *

   Petitioner                                   *

          v.                                    *           Civil Action No. AMD-08-1918

                                                *
JON WOLFE and
DOUGLAS GANSLER                                 *

   Respondents                                  *
                                               ***

                                       MEMORANDUM

          This state habeas action requires no hearing for resolution. See Rule 8(a), Rules

Governing Section 2254 Cases in the United States District Courts and Local Rule 105.6 (D.

Md. 2008); see also Fisher v. Lee, 215 F. 3d 438, 455 (4th Cir. 2000) (petitioner not entitled to a

hearing under 28 U.S.C. ' 2254(e)(2)). The petition shall be dismissed for the reasons set forth

herein.

                                           Background

                                        Evidence at Trial

          Brian Johnson’s body was found by Baltimore City Department of Public Works

employees near the pumping station at Leakin Park on June 10, 2001. Tony Williams, a

Department of Public Works employee, testified he was working the 11:00 pm to 7:00 am shift

that evening and, as a part of his job, had to check on the pumping stations. Paper No. 10 at Ex.

2, pp. 175-84. Williams and a co-worker were driving down South Chelsea Drive when they saw

a body. The two men drove past the body to the bottom of a hill to insure no one was still there

and turned around to investigate. Williams testified they could tell the man was dead “because
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we seen blood just running down.” Id. at p. 178. After getting out of the truck and confirming

their suspicions, Williams said he and his supervisor, Anthony Rossi, called the incident in over

their radio, drove back to the gate, locked it, and called 911. Rossi also testified that the area

where the body was found was secluded and the road leading there would be easy to miss to

someone unfamiliar with the area. Id. at p. 188.

        Detective Nevins was the primary investigator and testified at trial. Paper No. 10 at Ex.

2, pp. 211-28. She testified that she received a call from her dispatcher at midnight concerning a

shooting that occurred in the 3400 block of Winterbourne Road, which she described as a

secluded area. She testified that two shell casings were found at the scene and she was able to

obtain a tentative identification of the victim through use of a Polaroid picture. A preliminary

identification was made by one Damon Green, and a positive identification was made through

use of fingerprints.

        Green testified that he saw the decedent talking to three men standing by a Jeep Cherokee

near the Amoco station at the intersection of Forest Park Drive and Windsor Mill Road. Paper

No. 10 at Ex. 2, pp. 229-58. Green said he recognized one of the men talking to Johnson as a

man he knew as Charles and with whom he worked at Wendy’s.1 Green further stated that after

he observed Johnson talking to the men, he was later informed that Johnson had been forced into

a car and driven away. Green reported this to the police when he saw an officer questioning

someone driving another Jeep Cherokee that did not match the one driven by petitioner.

        Antoine Lester testified that he was with petitioner and four other men, Joseph Hamm,

Carl Harrison, Gregory Veale and Leon Wilkerson, robbing people on the night Johnson was

killed. Paper No. 10 at Ex. 2, pp. 261-322; Ex. 3, pp. 330-70.             He stated all of the men were

        1
         During redirect, Antoine Lester explained that Jason Hamm is also known as Charles Hamm and
recognized Green when he saw him near the Amoco station. Paper No. 10 at Ex. 3, p. 362.
                                                      2
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armed and that petitioner frequently carried a nine millimeter. Lester claimed petitioner called

him on his cell phone and told him to go to the Amoco station because there were drug dealers

there to rob. Lester and Veale were traveling together in Lester’s car, a Toyota Corolla, and the

remaining four men were traveling together in a gray Jeep Cherokee which petitioner had rented.

       Once Lester and Veale arrived at the Amoco station, Harrison and Hamm got out of

petitioner’s vehicle, grabbed Johnson, threw him into the Jeep, and drove off. Lester testified

that he did not agree with taking Johnson away and could not understand what was going on, but

followed the Jeep in his car. He claimed that he and Veale used a cell phone to call the men in

the other car to ask why Johnson was taken and what was going on. Lester and Veale were told

the men were taking Johnson to his house where he had money. Instead of driving to a residential

area, however, petitioner drove the Jeep into a wooded area, Leakin Park, stopped the car,

removed Johnson from the car, and said he had to be killed because he had seen petitioner’s face.

Lester testified he saw petitioner attempt to shoot Johnson twice but the gun did not fire. A

discussion took place between Lester, petitioner and the other men in an attempt to convince

petitioner not to kill Johnson. Lester stated that during the conversation Johnson was on his

knees, begging not to be killed.

       Lester further testified that petitioner and Harrison threw Johnson back into the Jeep and

drove to another area of the park that was secluded and accessed by a curving, one-way road. He

stated the two cars were briefly separated by another car, but Lester and Veale continued to call

via cell phone and believed, based on the screams he heard over the phone, that Johnson was

being beaten. When the Jeep stopped, Lester saw petitioner drag Johnson out of the car and

force him to kneel on the ground; he then heard two gunshots.



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        Both cars left the area. Lester seperated from the rest of the group and picked up his

girlfriend and daughter. He drove to a Wendy’s restaurant with his girlfriend and daughter to

meet the other men and split the robbery proceeds after arranging the meeting with petitioner on

the phone. Lester recalled that petitioner joked and bragged with the others about having killed

Johnson and only getting “three bags of weed” out of it. Lester testified that he also met with

petitioner later the next morning at a car wash because he said he had something for him.

Petitioner was with three women when they met and he explained to Lester that he had crashed

his car while racing it.

        Cicely Sampson, Antoine Lester’s girlfriend, testified and confirmed Lester’s account of

picking her up at his mother’s house along with his 12-year-old daughter on the evening of June

10, 2001. Paper No. 10 at Ex. 3, pp. 380-88. She stated that they returned home around 11:00 in

the evening and that Lester left, stating he could not sleep and was going to a Narcotics

Anonymous meeting. Id. at p. 385. Sampson also testified that she accompanied Lester to the

Westside Shopping Center where he parked the car and spoke with some men she did not

recognize. Id. at pp. 386-87. On cross-examination Sampson was asked if she or Lester were

promised anything in exchange for their testimony, but was not permitted to answer the question

over the state’s objection. Id. at p. 388.

        Gregory Veale took the stand and testified that on the night in question he was riding in

the car with Antoine Lester. Paper No. 10 at Ex. 3, pp. 399-434. He said he saw Harrison grab

Johnson by the ankles, Hamm hit him in the back, and the two of them put Johnson into

petitioner’s Jeep Cherokee. Id. at p. 405. At the time Johnson was put into the car, Veale

claimed petitioner was in the store buying cigars, but later admitted that petitioner did not allow

Johnson to leave the car. Id. at 430. Veale testified that he got back into the car with Lester and

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they followed the Jeep. He also claimed that phone calls were made to the Jeep and both he and

Lester told them to let Johnson go. He stated that the Jeep stopped at one point, petitioner

dragged the victim out of the car, and he could see Johnson clutching his hand over his face. He

said he could not hear what was going on because he did not exit the car.

       Veale also witnessed the second stop at Winterbourne Road when petitioner again

dragged the victim from the car. He explained that Lester’s car was some distance away, down a

small hill, with the headlights pointing into the woods. He further stated that the headlights of

the Jeep were pointing towards him. He saw petitioner dragging Johnson by the collar from the

vehicle, across the front of the car through the beam of the headlights, and heard two gunshots.

He stated he could tell it was petitioner because he was the largest of the men who were in the

car. Veale testified that based on what he saw, he knew Johnson was dead.

       Veale also corroborated Lester’s testimony regarding the meeting at the Westside

Shopping Center to divide the money from the robberies. Id. at p. 427. He claimed petitioner

stated that the men should “just keep this between us.” Id. at p. 416. On cross-examination

Veale was asked if he was testifying in return for a favor from the state or as a favor to Lester

and he answered no to both questions. Id. at p. 429-30.

       Leon Wilkerson, who was riding in the Jeep Cherokee with petitioner on the evening of

the murder, also testified. Paper No. 10 at Ex. 3, pp. 461-93. He claimed that he and Hamm also

told petitioner they should let Johnson go. Wilkerson said Harrison threatened them. Id. at p.

464. Wilkerson claimed the first time the Jeep stopped, petitioner asked Johnson to get out

because he wanted to talk to him, then both men returned moments later. Id. at p. 465. He said

he did not know what occurred outside of the truck during the first stop because he did not get

out. Id. at p. 475. Wilkerson claimed petitioner did not have a gun with him the first time he got

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out of the Jeep to talk to Johnson. Id. The second time the vehicle stopped, Wilkerson testified,

petitioner said he was going to let Johnson go, but Harrison told him he should not do that

because Johnson had seen their faces. Id. at p. 466. Petitioner, Johnson and Harrison got out of

the vehicle; petitioner walked past the front of the car. Wilkerson heard two gunshots and

petitioner and Harrison returned to the vehicle. Wilkerson recalled that petitioner repeatedly said

to Harrison, “see what you made do?” upon returning to the Jeep. Id. at 466.

       When all the men met to split the robbery proceeds, Wilkerson testified, petitioner told all

of them that he did not want to hear about what happened any more and that “its dead right

here.” Id. at p. 467. Wilkerson then left with Lester. On cross-examination Wilkerson denied

being promised anything in exchange for his testimony or testifying to help Lester. Id. at 489-

90.

       Detective Barry Grant was one of the detectives Antoine Lester spoke to about the

murder. Paper No. 10 at Ex. 4. pp. 513-30. He testified that Lester had been arrested during his

late night and early morning shift on June 12 and 13, 2001. He recalled that Lester had been

arrested on two unrelated shootings and, during questioning, revealed that he witnessed the

“entire murder” of Brian Johnson and that he was incensed about it. Id. at p. 515. Upon further

discussion with Lester, the detectives convinced him to contact all of the people involved in the

murder and set up a “hold up.” Id. at p. 515. Lester called Harrison and Hamm, told them he

had “a fat target they wanted to hit,” and asked if they had guns. Id.

       Grant, along with Detective Jefferson, drove Lester to the meeting place. The Quick

Response Team was also notified. When the suspects were spotted on South Mount Street, the

team moved in and made the arrests. Id. at p.518-20. Grant explained that Lester was on the

phone with Hamm and Harrison when they were en route to help locate where the men could be

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found. Id. Grant recalled that Harrison ran past their car and he chased after him, capturing him

about 30 feet from the corner. On cross examination Grant denied offering Lester anything in

exchange for his help with the Johnson murder. Id. at p. 526-28. He explained that he asked

Lester why he was coming forward and Lester insisted that he was upset about hearing Johnson

plead for his life. Id. Grant testified that Lester was adamant about witnessing the whole murder

and being upset by it.

       Forensic evidence gathered from the Jeep driven on the night of the murder was

introduced through Detective Blaine Vucci who processed it for fingerprints, and Roy Jones who

identified the latent fingerprints collected. Paper No. 10 at Ex. 4, pp. 531-34; 535-48. It was

established that the only identifiable fingerprints collected from the outside of the Jeep belonged

to petitioner. Id. at pp. 538; 546-47. With respect to the nine millimeter shell casings recovered

at the murder scene, James Wagster of the Baltimore City Police Crime Lab testified that both

casings had been fired from the same gun, but that the gun used was not available during his

analysis. Id. at pp. 562-69.

       The manager for the Enterprise Leasing Company, Jonathan Glazer, testified as to the

lease agreement signed by petitioner for the Jeep Cherokee. Paper No. 10 at Ex. 4, p. 548-61. He

stated that the Jeep was rented by petitioner on June 2, 2001, and was returned to the agency on

June 11, 2001, after it was involved in an accident. Id. at p. 553. He further testified that the

initial rental agreement included information regarding the fact that the car was being rented

because petitioner’s 1997 Nissan Maxima had been involved in an accident. Id. Glazer also

testified that when the Jeep was returned petitioner picked up a GMC Yukon which was returned

to the agency with the windows broken and covered in black powder.



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       Detective Nevins subpoenaed employment records from the Wendy’s and identified

Charles Hamm as one of Green’s coworkers. Id at pp. 574-75. She further testified that the

investigation into murder continued through Tuesday, June 12, 2001, when she received a phone

call from Detective Pennington regarding Antoine Lester’s claim of having witnessed the

Winterbourne Road murder. Id. at p. 578. Lester waived his Miranda rights and identified all of

the men who were present during the murder, but only knew the full name for petitioner. Id.

Lester identified petitioner in a photo array and provided a statement that he was the person who

“killed an innocent boy.” Id. at p. 584. During the interview with Lester, Detective Nevins

testified that his phone kept ringing and he kept talking to the people who called him. She stated

that Lester then offered to help bring the people involved in the murder into custody. Nevins

explained that Lester’s offer was accepted because they were unsure whether sufficient

information regarding the true identity of all of the parties could be obtained. Id. at p. 586.

Finally, Nevins stated that none of the witnesses she interviewed, including Gregory Veal, Leon

Wilkerson, Antoine Lester, Charles Hamm, and Damon Green, asked for anything in exchange

for the information they provided. Id. at pp. 599-600.

       The defense called two witnesses. The first witness was Yvonne Anderson Holt,

petitioner’s mother. Paper No. 10 at Ex. 4, pp. 624-36. Holt testified that she saw her son on

June 10, 2001, at her daughter’s house in Glen Burnie, Maryland, for her grandson’s birthday

party. She claims he arrived around 8:30 that evening and called her to tell her he noticed her

car, which was in the parking lot, had a flat tire. Id. She further stated that she spoke with

petitioner later that evening when she called him to say she had arrived home safely. Id.

       Tenecha Nicole Dorsey also testified for the defense. Paper No. 10 at Ex. 4, pp. 636-51.

She stated that she was with petitioner on the evening of June 10, 2001, beginning around 11:00

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p.m. She claimed petitioner called her at her father’s house, a claim verified by phone records

showing a call to her father’s number from petitioner’s cell at 10:25 p.m.. Id. at p. 642. She

stated that she was riding in petitioner’s rented car when he had an accident involving her sister’s

car. Id. at p. 644. Dorsey further testified that petitioner called the police regarding the car

accident, a call which was also verified through phone records to have been made at 11:51 p.m.

Id. at p. 649. Under cross-examination Dorsey admitted that her name did not appear as a

witness on any of the accident reports, but claimed she had provided her name and address to

police officers who came to the scene of the accident. Id. at 644-45.

        Although defense counsel requested a jury instruction regarding witnesses being

promised leniency, the trial court denied the request because “you couldn’t get anybody to

generate that.” Paper No. 10 at Ex. 4, p. 662. The jury found petitioner guilty of felony murder,

aiding and abetting first-degree murder, kidnapping, robbery, first-degree assault, use of a

handgun in the course of a felony, carrying a concealed weapon and carrying a weapon openly.

He was sentenced to life imprisonment plus 50 years consecutive.2

                                 Appellate and Post-Conviction Review

        On direct appeal petitioner alleged: the trial court erred by failing to give a jury

instruction on accomplice testimony; the court erred by giving an instruction on aiding and

abetting; and the evidence was insufficient to sustain the convictions. Paper No. 10 at Ex. 8.

The Maryland Court of Special Appeals affirmed the convictions, finding that the accomplice

instruction was not requested and, therefore, the failure to provide it was not error;

notwithstanding Lester, Veal and Wilkerson’s accomplice status the evidence was sufficient to

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          Carl Harrison and Charles Hamm were also convicted of murdering Brian Johnson. See Harrison v. State,
No. 2148, September Term, 2002 (February 11, 2004); Adams v. State, 165 Md. App. 352, 371, 885 A. 2d 833, 844
(2005) (referencing conviction of Poole, Harrison and Hamm in connection with the murder of Johnson); see also
Paper No. 10 at Ex. 28, p. 1, fn 1.
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sustain the convictions; and the aiding and abetting instruction was proper based on the evidence

presented at trial. Id. at Ex. 10.

        While petitioner’s appeal was pending, defense counsel for petitioner and two co-

defendants received a letter from prosecutor Cynthia Jones regarding a letter written by

Wilkerson to his defense attorney. Paper No. 10 at Ex. 13. The letter expressed Wilkerson’s

belief that “[t]he case that starts on the 7th of next month is the only case that the deal was

suppose to be made with or for.” Id. Wilkerson sought clarification because “[t]he case on the

16th of next month was only to assure me a bail” and he was unsure about it because he “really

didn’t eyewitness him do anything.” Id. He concludes with the request that counsel contact both

states attorneys to “let them know my deal was only made to testify in the case on the 7th for both

of my charges to be drop (sic).” Id. Jones forwarded the letter to counsel, explaining that the

letter was brought to her attention at a staff meeting and that she discussed with her colleague

whether any state agent made an agreement with Wilkerson in exchange for his testimony. Id. at

Ex. 17, p. 4. Based on this information, petitioner filed a motion for new trial, alleging that the

state had suppressed evidence that Wilkerson’s testimony was provided in exchange for

favorable treatment in pending criminal cases. Id. at Ex. 10. Petitioner also alleged that the

state’s attorney knew Wilkerson provided perjured testimony when he denied being promised

anything in exchange for his testimony. Id.

        The trial court denied the motion for new trial without a hearing. Paper No. 10 at Ex. 17.

Petitioner appealed the denial to the Maryland Court of Special Appeals which affirmed the

denial in an unreported decision. The appellate court noted that the alleged agreement was not

newly discovered evidence which could not have been discovered by due diligence earlier and, if

known, may have produced a different result. Id. at p. 9. The court also noted that neither the

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letter to counsel from Jones nor the letter from Wilkerson to his attorney clearly established that

a deal was consummated. Id. at p. 7. The Court of Appeals denied petitioner’s request for further

review of the matter. Id. at Ex. 18 and 19.

       In his petition for state post-conviction relief, petitioner alleged that trial counsel was

ineffective for failing to: investigate the scene of the shooting; object to portions of a witness’s

testimony regarding other criminal conduct; request a jury instruction on the testimony of

accomplices; impeach the testimony of Lester, Veale and Wilkerson with past criminal

convictions; and impeach the testimony of Lester through use of letters he wrote to Detective

Nevins offering his assistance. Paper No. 10 at Ex. 20-24. Petitioner also alleged the state

knowingly used perjured testimony through Wilkerson and failed to disclose Brady material

pertaining to Wilkerson’s testimony and pending criminal charges. Id.

       At a hearing on the post-conviction claims, Cynthia Jones testified that she never offered

Wilkerson lenient treatment on pending criminal charges in exchange for his testimony. Paper

No. 10 at Ex. 23 at pp. 64-71. She testified that she never made any deals with witnesses in

exchange for their testimony because she felt it was their obligation to testify. Id. She explained

she notified the attorneys because they needed to know what was going on and she never told

any judge that Wilkerson cooperated in petitioner’s case.

       Wilkerson was not called as a witness at the post-conviction hearing, nor was petitioner’s

trial counsel. The transcript from Wilkerson’s guilty plea was introduced in support of

petitioner’s allegation that there was a deal made for his testimony. Paper No. 10 at Ex. 23, p.

77. In the course of that proceeding there was a discussion regarding the reason for Wilkerson’s

confinement to protective custody in the Harford County Detention Center. There had been

threats made and the belief was that if Wilkerson was not kept where he was until petitioner’s

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trial was over he may be injured or killed. An agreement was reached that Wilkerson would

plead guilty, wait to be sentenced after he testified, and would be sentenced to time served. In

addition, the judge agreed to contact the Parole Commission on Wilkerson’s behalf.

         The post-conviction court denied relief in a memorandum opinion and order dated June

30, 2005. Paper No. 10 at Ex. 24. Petitioner appealed the decision to the Court of Special

Appeals which affirmed the post-conviction court’s decision in a 77-page opinion on August 1,

2007. Id. at Ex. 28. A petition for writ of certiorari was denied by the Maryland Court of

Appeals. The decisions of the post-conviction court and the Court of Special Appeals are

discussed in further detail infra.

                                            Allegations in this Court

         Petitioner claims he is entitled to habeas corpus relief because the state failed to disclose

Brady material regarding Wilkerson’s testimony and trial counsel was ineffective for failing to

impeach Lester with letters he had written to Detective Nevins. Paper No. 1 at pp. 5 and 6.

                                                      Analysis

                                                          I.

         Respondents assert the petition is untimely under 28 U.S.C. §2244(d)(1). Paper No. 10 at

pp. 13-15. Petitioner was found guilty on July 16, 2002. He was sentenced on October 1, 2002.

The Court of Special Appeals affirmed the judgment on October 3, 2003. On December 19,

2003, the Maryland Court of Appeals denied a petition for certiorari. Accordingly, for purposes

of the filing deadline for federal habeas review, petitioner’s conviction was final on March 18,

2004, the deadline for filing for certiorari review before the United States Supreme Court.3 On


         3
          The court declines to determine whether the filing deadline was tolled during the period of time
petitioner’s motion for new trial was pending because the instant petition was timely filed without taking that period
of time into account.
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October 27, 2004, petitioner filed for post-conviction relief in the Circuit Court for Baltimore

City, thereby tolling the limitations period for filing a federal habeas corpus petition with 142

days remaining on the one-year limitation period.

        Post-conviction relief was denied by the Circuit Court on June 20, 2005. The decision

was affirmed on appeal by the Court of Special Appeals on August 1, 2007, and certiorari review

was denied on December 7, 2007. The time period for seeking certiorari review in the United

States Supreme Court expired on March 6, 2008. To calculate the filing deadline for the instant

petition the period of time remaining on the one-year limitation period at the time it was tolled

must be added to the date further appellate review was no longer available.4 When 142 days is

added to March 6, 2008, the filing deadline is July 28, 2008.5 The instant petition was filed on

July 22, 2008 and is timely.

                                                           II.

        A federal court may not grant a writ of habeas corpus unless the state=s adjudication on

the merits:

         1)         resulted in a decision that was contrary to, or involved an unreasonable
                    application of, clearly established federal law, as determined by the
                    Supreme Court of the United States; or

        2)          resulted in a decision that was based on an unreasonable determination of
                    the facts in light of the evidence presented in the State court proceeding.

28 U.S.C. ' 2254(d).




        4
         Counsel’s method of simply adding the time periods when there was no pending litigation in the case is
improper and leads to the erroneous conclusion that the petition is untimely.
        5
            The actual deadline falls on July 26, 2008, which is a Saturday.

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         A decision is Acontrary to@ Supreme Court precedent if Athe state court applies a rule that

contradicts the governing law set forth in our cases.@ Williams v. Taylor, 529 U.S. 362, 405

(2000).6 Section 2254(d) also requires federal courts to give great deference to a state court's

factual findings. See Lenz v. Washington, 444 F. 3d 295, 299 (4th Cir. 2006). Section 2254(e)(1)

provides that a determination of a factual issue made by a state court shall be presumed to be

correct absent clear and convincing evidence to the contrary.                  The applicant has the burden of

rebutting the presumption of correctness. A decision adjudicated on the merits in a state court

and based on a factual determination will not be overturned on factual grounds unless objectively

unreasonable in light of the evidence presented in the state court proceeding. See Miller-El v.

Cockrell, 537 U.S. 322, 340 (2003). With these standards in mind, the court will address the

merits of petitioner=s claims below.

                                                              III.

                                                        Brady Claim

         A[T]he suppression by the prosecution of evidence favorable to an accused upon request

violates due process where the evidence is material either to guilt or punishment.@ Brady v.

Maryland, 373 U.S. 83, 87 (1963). AThe Brady rule is based on the requirement of due process.

Its purpose is not to displace the adversary system as the primary means by which truth is


         6
          Although ' 2254(d) is a Ahighly deferential standard for evaluating state-court rulings,@ Lindh v. Murphy,
521 U.S. 320, 333, n.7 (1997), Awhich demands that state court decisions be given the benefit of the doubt,@
Woodford v. Visciotti, 537 U.S. 19, 24 (2002) (per curium), a state court decision is Acontrary to@ clearly established
federal law when Athe state court arrives at a conclusion opposite to that reached by [the Supreme] Court on a
question of law or if the state court decides a case differently than [the Supreme] Court has on a set of materially
indistinguishable facts.@ Williams v. Taylor, 529 at 412-413. A state court decision is based on an Aunreasonable
application@ of clearly established federal law when Athe state court identifies the correct governing legal principle
from [the Supreme] Court=s decisions but unreasonably applies that principle to the facts of the prisoner=s case.@ Id.
A[A] federal habeas court making the >unreasonable application= inquiry should ask whether the state court=s
application of clearly established federal law was objectively unreasonable.@ Id. at 409-410; see also Wiggins v.
Smith, 539 U.S. 510, 520-21 (2003); Booth-el v. Nuth, 288 F.3d 571, 575 (4th Cir. 2002).

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uncovered, but to ensure that a miscarriage of justice does not occur.@ United States v. Bagley,

473 U.S. 667, 675 (1985). In order to prevail on a Brady claim, it must be established that the

evidence at issue was both favorable to the defense and that the unavailability of the evidence

calls into question the result of the trial. Id. at 678. The Supreme Court has made it clear that

there is no distinction between exculpatory evidence and impeachment evidence in the context of

a Brady analysis. See Giglio v. United States, 405 U.S. 150, 154 (1972). There is no requirement

that the guilty finding be overturned unless suppression of the impeachment evidence so limited

the defense=s ability to cross-examine an accusing witness that Aits suppression undermines

confidence in the outcome of the trial.@ Bagley, 473 U.S. at 678.

       Petitioner’s Brady claim centers on Wilkerson and whether he had an agreement with the

state pertaining to his trial testimony, and, if so, whether the state failed to disclose the

agreement to the defense. Wilkerson also testified in another murder trial, unrelated to the

Johnson murder, and a similar claim was raised by the defendant in that case. See Adams v.

State, 165 Md. App. 352, 885 A. 2d 833 (2005). Both claims relied heavily upon the seemingly

favorable treatment Wilkerson received in two pending cases, including a drug distribution

charge and a violation of probation. Adams’ Brady claim was raised in a motion for new trial

which was rejected by the trial court after a hearing and the decision was affirmed by the Court

of Special Appeals. The analysis of Adams’s claim was relied upon heavily by the appellate

court in its decision in petitioner’s case. Paper No. 10 at Ex. 28.

       In the Adams motion hearing the State’s Attorney, Melissa Copeland, who prosecuted

Wilkerson, testified that she was not aware of any agreement for lenient treatment in exchange

for his testimony. Wilkerson also testified in relevant part that: he expected lenient treatment in

his pending criminal cases in exchange for his testimony in both the Adams and Poole cases; he

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was never promised anything by any prosecutor involved in either case but assumed he would be

treated favorably because of statements made by the police; and no one ever said anything to him

about a deal in the Poole case. Id. at pp. 24-26. Wilkerson did not testify at petitioner’s post-

conviction hearing, but the Court of Special Appeals reviewed the factual findings of the lower

court in the Adams case in addition to the conclusions made in petitioner’s case. Id. at pp. 19-34.

In rejecting Adams’ motion for a new trial, the lower court concluded in part that

               At the time of the negotiation with Leon Wilkerson before Judge
               McCurdy, State’s Attorney Copeland believed Leon Wilkerson had
               testified in the murder cases without the promise of any deal from
               the State.

               State’s Attorney Copeland made the decision to offer Leon
               Wilkerson a sentence of time served for his two cases and pending
               violations of probation because the original offer by another
               prosecutor in Case # 10114014 had been two years, she felt neither
               of her cases were compelling, and she was inexperienced and
               believed including the violation of probations in the deal was the
               accepted procedure.

               State’s Attorney Copeland’s offer was not the result of any offer
               made by any prosecutor to Leon Wilkerson or any suggestion from
               any prosecutor to State’s Attorney Copeland that leniency would
               be appropriate.

Paper No. 10 at Ex. 28, p. 34, citing Adams, 165 Md. App. at 412.

       In petitioner’s post-conviction proceeding the state’s attorney assigned to his case,

Cynthia Jones, testified that when she met with Wilkerson he was in jail and she knew he had

felony drug charges pending against him. She further stated that it was her policy not to offer

witnesses anything in exchange for their testimony and that it had been her experience that

witnesses are sometimes misled to believe they would receive lenient treatment by “individuals

involved in the criminal justice system” before they are ever seen by representatives of the

state’s attorney’s office. She also testified that she did not contact the judge in Wilkerson’s case

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after he had testified against petitioner and that Wilkerson never asked her for a deal nor did he

express confusion over whether he would receive favorable treatment.

       In rejecting petitioner’s claim that the state knowingly introduced perjured testimony, the

post-conviction court found that there was “no evidence that Leon Wilkerson intended to falsely

testify about any deals made” and there was no evidence in the transcript of Wilkerson’s guilty

plea that the agreement was the result of his involvement as a witness in petitioner’s case. The

post-conviction court concluded that petitioner failed to establish his claim concerning perjured

testimony and failed to establish his Brady claim as there was no evidence of an agreement.

       In reviewing the post-conviction court’s decision, the appellate court noted that while it

was not bound by its decision in Adams, the case was instructive. The post-conviction judge’s

findings in Adams rejected the claim that there was a formal contractual arrangement made with

Wilkerson, and also rejected the claim of an implied understanding. The appellate court noted

the fact-finding of the Adams post-conviction court that:

               The facts simply do not bear out the defendant’s conclusion that
               Mr. Wilkerson must have had an agreement with the State in
               exchange for his testimony in the instant case. The most that can
               be said is that Mr. Wilkerson formed a subjective expectation that
               he would be granted leniency in exchange for his testimony in this
               and another homicide case.

Paper No. 10 at Ex. 28, p. 59. The appellate court then adopted the reasoning of the Adams court

and concluded that the post-conviction court in petitioner’s case was not clearly erroneous in its

finding that Wilkerson did not enter into a deal with the state. Id. at p. 64. Absent an agreement

for leniency, there was no duty to disclose under Brady.

       Petitioner asserts that the post-conviction court erred in finding there was no evidence of

an agreement between the state and Wilkerson because evidence to that effect was introduced.


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Paper No. 1 at Memorandum, p. 13. He relies on the guilty plea transcript in Wilkerson’s case

which took place on June 19, 2002, less than a month before Wilkerson testified against

petitioner. Id. at pp. 14-16. On July 11, 2002, Wilkerson testified against petitioner; on July 15,

2002, Wilkerson was sentenced. At the sentencing proceeding Wilkerson’s counsel informed the

court that his client had testified for the state against petitioner. Counsel told the judge “this is

the case where he was to testify, and he did, I understand. I talked to the detectives. The

detectives talked to the State’s Attorney. He did very well.” Id. at Ex. 2, p. 4. Wilkerson was

then sentenced in a manner that did not require him to serve additional jail time.

       Petitioner also relies on Wilkerson’s testimony at the hearing on the motion for new trial

in the Adams case, wherein Wilkerson expressed his belief that a deal was being worked out

between his attorney and the state’s attorney in exchange for his testimony in both cases. Id. at

Ex. 3. From these proceedings petitioner argues that it was clear that Wilkerson received a

benefit from the state for his testimony and that “everyone at those hearings . . . understood

Wilkerson would receive a benefit for cooperating with the State.” Id. at p. 19. Petitioner

assigns error to the post-conviction judge’s conclusion that “the Court does not see any evidence

in the transcript that this plea agreement was a direct result of his involvement in petitioner’s

case. And, petitioner did not call Judge McCurdy [Wilkerson’s sentencing judge] or Mr.

Wilkerson as witnesses . . . to testify otherwise.” Id. at p. 13.

       Whether there was an agreement made with Wilkerson in exchange for his testimony in

petitioner’s case is a finding of fact which may not be overturned by this court unless it is

objectively unreasonable in light of the evidence presented. See Miller-El v. Cockrell, 537 U.S.

322, 340 (2003). This court concludes that the evidence as outlined by the appellate court

supports the conclusion that there was no agreement reached with Wilkerson in exchange for his

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testimony and that finding is not objectively unreasonable. While there was some evidence that

Wilkerson may have been the recipient of some vague promises of favorable treatment by police

officers or persons who were not authorized to make a binding agreement with him, there was

also evidence that no agreement was ever consummated. In any event, this court agrees with the

state courts that the weight of the evidence favored a finding that no agreement was reached with

Wilkerson for his testimony.

                                Ineffective Assistance of Counsel Claim

       To establish ineffective assistance of counsel petitioner must show both that counsel's

performance was deficient and that the deficient performance prejudiced his defense. See

Strickland v. Washington, 466 U.S. 668, 687 (1984). The second prong requires the court to

consider whether there was Aa reasonable probability that, but for counsel's unprofessional errors,

the result of the proceeding would have been different.@ Id. at 694. A strong presumption of

adequacy attaches to counsel's conduct, so strong in fact that a petitioner alleging ineffective

assistance of counsel must show that the proceeding was rendered fundamentally unfair by

counsel's affirmative omissions or errors. Id. at 696.

       Petitioner asserts trial counsel was ineffective because he failed to use two letters written

by Antoine Lester to Detective Nevins as impeachment evidence. In those two letters, which

were obtained by the defense during discovery, Lester stated:

               If you will help me in my [plight] for freedom; I can as[s]ure you
               that you’ll get the people [you think are] behind the new [madness]
               in Baltimore City. I would love to help better my city. I have an
               int[e]rest in ap[p]rehending these people that do not care about
               another human beings (sic) life.

       Paper No. 10 at Ex.24, pp 14-15. In his second note to the detective Lester wrote, “You

kn[o]w my work. I’m from the streets. With your authority and my street knowledge we can

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make Baltimore’s crime rate decrease.” Id. The post-conviction court rejected this claim because

Lester “made no specific reference to Petitioner’s case in any of his correspondence. Instead, he

offers his general street knowledge, in exchange for his freedom or his bail lowered.” Paper No.

10 at Ex. 24, p. 15. The appellate court agreed with the post-conviction court’s analysis, holding

that the lower court’s factual findings were not clearly erroneous. Id. at Ex. 28, p. 71. The court

further found that counsel’s performance did not undermine the adversarial process because

“Nevins clearly testified that she had not made any promises to the witnesses during the course

of her investigation, and further stated that ‘none of the witnesses asked for anything’ in

exchange for their cooperation.” Id. at p. 72. The court concluded that even if counsel’s

performance was deficient, “the circumstances here do not warrant a reversal.” Id.

       Petitioner asserts that the failure to impeach Lester with the letters he had written was

deficient performance which adversely effected the outcome of the trial. He asserts that since

Lester claimed he was testifying against petitioner because he was shocked by the nature of the

crime and was there due to his outrage, the letters written by him seeking freedom for

information contradicted those claims. Paper No. 1, Memorandum at p. 26. To find that the state

courts’ conclusion that petitioner was not prejudiced by counsel’s non-use of the two letters was

unreasonable, this court would have to disregard other evidence used to impeach Lester’s

testimony, to say nothing of the overwhelming evidence of petitioner’s involvement in the

murder. Lester admitted he was involved in robbing drug dealers, admitted he was in custody on

other charges when he agreed to help police apprehend Johnson’s killers, and admitted having

witnessed other shootings.    To the extent that the letters to Detective Nevins would have

established that he had other motives to assist the state in prosecuting petitioner, that evidence

was already before the jury. Thus, the state courts’ conclusions withstand scrutiny.

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                                               Conclusion

       The court determines for the reasons set forth above that petitioner is not entitled to

federal habeas relief. Accordingly, the petition shall be dismissed with prejudice. An order

follows.




Date: October 7, 2009                                        __/s/______________________
                                                             Andre M. Davis
                                                             United States District Judge




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